                 Case 1:21-cr-00040-TNM Document 497-2 Filed 12/15/22 Page 1 of 4


                                                                             Jonathan Gross <jonathansgross@gmail.com>



RE: [EXTERNAL] Discovery for Christopher Quaglin
1 message

Akers, Ashley (CIV) <Ashley.Akers@usdoj.gov>                                                    Wed, Nov 30, 2022 at 12:15 PM
To: Jonathan Gross <jon@clevengerfirm.com>


 Jonathan –



 I received this request after hours on Monday evening and it’s Wednesday morning. I will work on this as expeditiously as
 possible but it will take some time. As I previously stated, we have already provided all of the discovery to lead counsel of
 record Mr. McBride. While I work to re-upload all of the discovery, please consult with him to review discovery as needed.



 I will update you when it’s re-uploaded.



 Ashley



 Ashley Akers | Trial Attorney

 Detailed to the U.S. Attorney’s Office for the District of Columbia

 Email: Ashley.Akers@usdoj.gov

 Phone: (202) 353-0521




 From: Jonathan Gross <jon@clevengerfirm.com>
 Sent: Wednesday, November 30, 2022 12:07 PM
 To: Akers, Ashley (CIV) <Ashley.Akers@usdoj.gov>
 Subject: Re: [EXTERNAL] Discovery for Christopher Quaglin



 How is the discovery coming along?


 On Mon, Nov 28, 2022 at 8:00 PM Akers, Ashley (CIV) <Ashley.Akers@usdoj.gov> wrote:

    I’ll work to facilitate getting you all of the discovery as soon as possible. In the meantime, Mr. McBride should have all
    of Mr. Quaglin’s discovery.



    Ashley
             Case 1:21-cr-00040-TNM Document 497-2 Filed 12/15/22 Page 2 of 4
Ashley Akers | Trial Attorney

Detailed to the U.S. Attorney’s Office for the District of Columbia

Email: Ashley.Akers@usdoj.gov

Phone: (202) 353-0521




From: Jonathan Gross <jon@clevengerfirm.com>
Sent: Monday, November 28, 2022 7:56 PM
To: Akers, Ashley (CIV) <Ashley.Akers@usdoj.gov>
Subject: Re: [EXTERNAL] Discovery for Christopher Quaglin



Ms. Akers,

I need to access all of the discovery, for me and for my client. As you may know, my client is in Northern Neck
Regional Jail and needs access to his discovery which the government lost when they transferred him in December.

I am new to the case and just obtained access to USAfx today, so I need everything as well.

Thank you again for your assistance in this matter.

Jonathan



On Mon, Nov 28, 2022 at 7:49 PM Akers, Ashley (CIV) <Ashley.Akers@usdoj.gov> wrote:

  Hi, Jonathan –



  Are there specific discovery productions that you’re seeking to access and have you downloaded any of the
  previously uploaded productions up to a certain date? If you could give me an idea what you have, it would be
  helpful. As Jocelyn mentioned, we’ve made all of the discovery available on USAfx but it doesn’t remain indefinitely.



  Thanks,



  Ashley



  Ashley Akers | Trial Attorney

  Detailed to the U.S. Attorney’s Office for the District of Columbia

  Email: Ashley.Akers@usdoj.gov

  Phone: (202) 353-0521
            Case 1:21-cr-00040-TNM Document 497-2 Filed 12/15/22 Page 3 of 4

From: Bond, Jocelyn (USADC) <JBOND@usa.doj.gov>
Sent: Monday, November 28, 2022 7:43 PM
To: Jonathan Gross <jon@clevengerfirm.com>
Cc: Akers, Ashley (CIV) <Ashley.Akers@usdoj.gov>
Subject: RE: [EXTERNAL] Discovery for Christopher Quaglin



Good afternoon Mr. Gross,



I am cc’ing Ashley Akers who will be handling this case going forward. I am sure that she can assist you, although
discovery only remains on USAfx for 60 days before it is auto-deleted.



Jocelyn Bond

Assistant United States Attorney

United States Attorney’s Office

601 D Street, N.W.

Washington, D.C. 20530

(202) 252-2571 (office phone)

(202) 809-0793 (cell phone)

Jocelyn.Bond@usdoj.gov




From: Jonathan Gross <jon@clevengerfirm.com>
Sent: Monday, November 28, 2022 1:21 PM
To: Bond, Jocelyn (USADC) <JBOND@usa.doj.gov>
Subject: [EXTERNAL] Discovery for Christopher Quaglin



Ms. Bond,
I am trying to access the discovery for my client Christopher Quaglin, from USAfx. Can you
assist me with this or else direct me to someone who can?
Thank you,

Jonathan


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Jonathan Gross, Esq.

The Clevenger Firm

2833 Smith Avenue

Suite 331

Baltimore, MD 21209
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          (443) 813-0141

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     Jonathan Gross




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